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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA §
v. § Criminal No. 17-00046 (RBW)
KASSIM TAJIDEEN, §
Defendant. §
)
MOTION F()R RELIEF

Defendant Kassim Tajideen, by and through undersigned counsel, hereby moves for an

order (l) permitting l\/Ir. Tajideen’S counsel to deliver to Mr. Tajideen medications taken from

l\/Ir. Tajideen’S possession upon arrest; and (2) to receive a prompt visit from a medical doctor in

order to assess his current medical condition and provide treatment as necessary.

Date: Maroh 31, 2017

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